           Case 1:06-cr-00200-LJO Document 61 Filed 11/08/06 Page 1 of 2


 1   SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2   2300 Tulare Street, Suite 230
     Fresno, CA 93721
 3   Telephone: 559-233-1000
     Facsimile: 559-233-6044
 4
 5   Attorney for Defendant, JOSE RIOS-ESCOBAR
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )        CASE NUMBER: 1:06-CR-00200-OWW
                                                      )
11                          Plaintiff,                )        STIPULATION AND ORDER FOR A
                                                      )        RESETTING OF HEARING ON
12   v.                                               )        REPORT OF PROBATION OFFICER
                                                      )
13   JOSE RIOS-ESCOBAR,                               )
                                                      )
14                          Defendant.                )
                                                      )
15
16           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and
17   the defendant by and through his attorney, that the date set for hearing on the presentence report of the
18   probation officer and sentencing be extended as follows, additional time is necessary for psychiatric
19   evaluation of defendant:
20                  Probation Report available to Defense Counsel: move from
                    November 6, 2006 to December 18, 2006.
21
22                  Defense Counsel’s Informal Objections due to Probation and AUSA:
                    move from November 20, 2006 to January 2, 2007.
23
24                  Formal Objections must be filed with the Court and served on
                    Probation and AUSA: move from December 4, 2006 to January 16,
25                  2007.
26                  RPO Hearing: move from December 11, 2006 at 1:30 p.m. to
                    January 22, 2007 at 1:30 p.m.
27   ///
28   ///
           Case 1:06-cr-00200-LJO Document 61 Filed 11/08/06 Page 2 of 2


 1   ///
 2   ///
 3   ///
 4   ///                                        Respectfully submitted,
 5
 6
 7   DATED: November 3, 2006                     /s/ Salvatore Sciandra
                                                SALVATORE SCIANDRA
 8                                              Attorney for Defendant,
                                                JOSE RIOS-ESCOBAR
 9
10
11   DATED: November 3, 2006                    /s/ Karen Ann Escobar
                                                KEVIN P. ROONEY
12                                              Assistant United States Attorney
13
14
                                           ORDER
15
16
17
     IT IS SO ORDERED.
18
     Dated: November 7, 2006                   /s/ Oliver W. Wanger
19   emm0d6                               UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28
